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                                UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF VIRGINIA
                                                     NOTICE

CONSENT TO TRIAL BY MAGISTRATE JUDGE

Pursuant to Federal Rule of Civil Procedure 73 and 28 U.S.C. § 636(c) you have the right to have your case
conducted before a United States Magistrate Judge upon consent of all parties. In order to proceed before
the Magistrate Judge, a consent form must be filed with the Clerk's Office. It may be filed jointly or separately.
The consent form may be printed from the U.S. District Court website (listed below) or obtained from the
Clerk's Office. Please refer to the previously mentioned rule for further information.


FINANCIAL INTEREST DISCLOSURE STATEMENT

Pursuant to Local Rule 7.1, a financial interest disclosure statement must be filed by a “nongovernmental
corporation, partnership, trust, [or] other similar entity that is a party to, or that appears in, an action or
proceeding in this Court.” This statement should be filed with “the party's first appearance, pleading, petition,
motion, response, or other request addressed to the Court. The financial interest disclosure statement may
be printed from the U.S. District Court website (listed below) or obtained from the Clerk's Office. Please refer
to the previously mentioned rule for further information.

ALEXANDRIA DIVISION SPECIFIC INFORMATION

Information regarding Alexandria Chambers Copy, Civil and Criminal Motions Procedures, and Other Division‐
Specific information can be found on the U.S. District Court website at:
http://www.vaed.uscourts.gov/ecf/documents/AlexandriaInformation‐01‐01‐18_000.pdf


WEBSITE AND CLERK'S OFFICES ADDRESSES

The website address for the U.S. District Court for the Eastern District of Virginia is www.vaed.uscourts.gov. If
you do not have access to a computer, contact one of the Clerk's Offices listed below to obtain either of these
forms:

Albert V. Bryan United States Courthouse            Walter E. Hoffman United States Courthouse
401 Courthouse Square                               600 Granby Street
Alexandria, VA 22314                                Norfolk, VA 23510
(703) 299‐2101                                      (757) 222‐7201

Spotswood W. Robinson, III                           U.S Federal Courthouse
and Robert R. Merhige, Jr. Federal Courthouse        2400 West Avenue
 701 East Broad Street                               Newport News, VA 23607
Suite 3000                                           (757) 247‐0784
Richmond, VA 23219
(804) 916‐2220
